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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

STEVE HILLEBRECHT                             )
4972 South Sedgewick                          )
Lyndhurst, OH 44124                            )
                                              )    Case No
            Plaintiff,                        )
                                              )    JURY DEMAND ENDORSED HEREON
      v.                                      )
                                              )    VERIFIED CIVIL COMPLAINT
                                              )    (Unlawful Debt Collection Practices)
BUREAU OF COLLECTION RECOVERY,                )
INC.                                          )
7575 Corporate Way                            )
Eden Prairie, MN 55344                        )
                                              )
            Defendant.                        )

                                 VERIFIED COMPLAINT

      STEVE HILLEBRECHT (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges

the following against BUREAU OF COLLECTION RECOVERY, INC. (Defendant):

                                     INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

      et seq. (FDCPA).

                              JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

      supplemental jurisdiction over the state claims contained therein.

   3. Because Defendant conducts business in Ohio, personal jurisdiction is established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
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                                        PARTIES

5. Plaintiff is a natural person who resides in Lyndhurst, Cuyahoga County, Ohio and is

   allegedly obligated to pay a debt, and Plaintiff is a “consumer” as that term is defined by

   15 U.S.C. 1692a(3).

6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

   collector and sought to collect a consumer debt from Plaintiff which was allegedly due

   and owing from Plaintiff, and Plaintiff is a consumer debtor.

7. Defendant is a debt collector with an office in Eden Prairie, Minnesota.

8. Defendant uses instrumentalities of interstate commerce or the mails in any business the

   principal purpose of which is the collection of any debts, or who regularly collects or

   attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or

   due another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

9. Defendant is a collection agency that in the ordinary course of business, regularly, on

   behalf of itself or others, engages in debt collection.

                              FACTUAL ALLEGATIONS

10. Defendant constantly and continuously places collection calls to Plaintiff seeking and

   demanding payment for an alleged debt.

11. Defendant has been placing collection calls to Plaintiff for nearly twelve months.

12. Defendant places collection calls to Plaintiff multiple times a day.

13. Defendant called Plaintiff from telephone number: 202-607-2732.

14. Defendant places collection calls to Plaintiff on telephone number: 440-840-0801.


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                            COUNT I
   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   15. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which is to harass, oppress, or abuse the Plaintiff in connection

              with the collection of a debt.

          b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring and

              engaging Plaintiff is telephone conversations repeatedly and continuously with

              the intent to annoy, abuse, and harass Plaintiff.

      WHEREFORE, Plaintiff, STEVE HILLEBRECHT respectfully requests judgment be

entered against Defendant, COLLECTCORP CORPORATION. for the following:

   16. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k,

   17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. 1692k

   18. Any other relief that this Honorable Court deems appropriate.




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                             DEMAND FOR JURY TRIAL

      Plaintiff, STEVE HILLEBRECHT, requests a jury trial in this case.

                                         RESPECTFULLY SUBMITTED,




                                         By:_/s/Peter Cozmyk_______________________________
                                                Peter Cozmyk,
                                                Attorney for Plaintiff

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